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 1                            UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3

 4   UNITED STATES OF AMERICA,

 5          Plaintiff,                                  Case No. 2:07-CR-0145-KJD-PAL

 6   v.                                                 ORDER

 7   RONALD “JOEY” SELLERS, et al.,

 8          Defendants.

 9

10          Currently before the Court is Defendant Charles Gensemer’s (Gensemer) Motion to Suppress

11   Evidence (#743), filed May 6, 2009. The Government filed a Response (#791), on May 11, 2009.

12   The Magistrate Judge filed a Report and Recommendation (#892), on May 19, 2009, recommending

13   that the Motion be denied. According to LR IB 3-2, any party wishing to object to the findings and

14   recommendations of a magistrate judge must serve specific written objections together with points

15   and authorities in support thereof within ten (10) days from the date of service of the findings and

16   recommendations. To date, no objection has been filed to the Magistrate Judge’s Report and

17   Recommendation.

18          The Court has reviewed the Magistrate Judge’s Report and Recommendation, together with

19   the Motion and Response, and accepts the Magistrate Judge’s Recommendation to Deny Defendant

20   Gensemer’s Motion to Suppress Evidence.

21          This Court has made a de novo determination regarding the Defendant’s Motion to Suppress

22   Evidence, and adopts the Magistrate Judge’s findings in whole. The Magistrate Judge properly

23   determined that Defendant’s immediate Motion was not timely filed. (Report and Recommendation

24   at 2.) Specifically, the deadline for filing pretrial motions was November 14, 2008, as set forth in the

25   Court’s Orders approving Proposed Complex Case Schedule. (See #s 368 and 444.) Additionally,

26   after noting that the Court had previously addressed and denied “nearly identical arguments” asserted
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 1   in Gensemer’s first Motion to Suppress (#409), the Magistrate Judge properly found that Gensemer’s

 2   Motion fails to specify which portions of the challenged warrant affidavit are false, nor does the

 3   Motion provide affidavits or other reliable documentation in support of Gensemer’s challenge or

 4   satisfactorily explain the absence of such supporting documentation. See United States v. Fowlie, 24

 5   F.3d 1059, 1066 (9th Cir. 1994) (citing Franks v. Delaware, 438 U.S. 154, 171 (1978)).

 6          Accordingly, IT IS HEREBY ORDERED that the Magistrate Judge’s Report and

 7   Recommendation is accepted and adopted in whole.

 8          IT IS FURTHER ORDERED that Defendants’ Motion to Suppress Evidence (#743), is

 9   DENIED.

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11          DATED this 3rd day of June 2009.

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                                                   ____________________________________
14                                                 Kent J. Dawson
                                                   United States District Judge
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